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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION


UNITED STATES OF AMERICA                                                      PLAINTIFF

Vs.                          CASE NO. 4:04cr00137-01 JMM

SHANNA CAROL MOORE                                                          DEFENDANT

                                        ORDER

       The Judgment entered in the above case on April 11, 2006, contained a clerical

error on page 6, paragraph ‘F’. The correct amount of restitution should be $498,420.33.

Also, page 2 of the Judgment shows that drug testing should be suspended, however, the

Court ordered that defendant shall be subject to a special condition of drug testing while

on supervised release under the guidance and supervision of the probation office. The

Clerk is directed to send a copy of this Order to counsel, United States Probation, United

States Marshals Service and to the Finance Section of the Clerk’s office.

       IT IS SO ORDERED this 18th        day of April, 2006.



                                           UNITED STATES DISTRICT JUDGE
